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~AO   24513   (Rev. 9/00) Judgment in a Criminal Case
              Sheet I

                                UNITED STATES DISTRICT COURT
                                              SOUTHERN DISTRICT OF CALIFORNIA
               UNITED       STATES       OF AMERICA                     JUDGMENT IN A CRIMINAL CASE
                                   v.                                   (For Offenses Committed On or After November 1, 1987)

                         Keyana Anderson     (06)                       Case Number:             06CR0205-W

                                                                        Gary Ed wards
                                                                        Defendant's   Attorney
REGISTRATION NO.98734198
THE DEFENDANT:
X'    pleaded guilty to count(s)         two of the indictment

      Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offenses:
                                                                                                                       Count
Title & Section                         Nature of Offense                                                            Number(s)
18 use 1956(a)( 1)(i);               Conspiracy     to launder money                                                    2
18 USC 1956(a)(I)(B)(i),
18 USC 1956(h), 18 USC 2




   The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is imposed pursuant     to the
Sentencing Reform Act of 1984.




X    Assessment: $ 100.00 payable forthwith.
X    Fine ordered waived.
         IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant shall notify the court and United States attorney of any material change
in the defendant's economic circumstances.
                                                                       February 5 2007
                                                                       Date of Imposition 0



                                                                       THOMAS J.
                                                                       UNITED STAT
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              Sheet 2 - Imprisonmcnt

                                                                                                                            Judgment -     Page   _2     _   of         .1
DEFENDANT:                          Keyana       Anderson
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                                                                        IMPRISONMENT

      The defendant            is hereby committed         to the custody    of the United States Bureau            of Prisons   to be imprisoned       for a term of
24 months.




X          The court makes the following           recommendations          to the Bureau       of Prisons:
        The Court recommends               placement     in the western     region.




o       The defendant          is remanded     to the custody     of the United States Marshal.

        The defendant          shall surrender    to the United States Marshal          for this district:

                                                            o a.m.          o p.m.              on

        o        as notified     by the United States Marshal.


o       The defendant          shall surrender    for service    of sentence     at the institution    designated     by the Bureau      of Prisons:

        o        before 2 p.m. on

        o        as notified     by the United States Marshal.

        o        as notified     by the Probation       or Pretrial   Services   Office.



                                                                                 RETURN

I have executed     this judgment         as follows:

        Defendant      delivered     on                                                                       to


at   ________________                                         , with a certified      copy of this judgment.



                                                                                                                     UNITED      STATES       MARSHAL


                                                                                           By
                                                                                                               DEPUTY      UNITED        STATES        MARSHAL
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           Sheet 3 - Supervised Release


  DEFENDANT:
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                              Keyana Anderson
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                                                                 SUPERVISED RELEASE

   Upon release from imprisonment,          the defendant         shall be on supervised        release     for a term of 3 years.
                                                           MANDATORY CONDITIONS

        The defendant shall report to the probation              office in the district to which the defendant            is released     within 72 hours of release from
  the custody of the Bureau of Prisons.
  The defendant    shall not commit       another     federal,    state or local crime.

  The defendant    shall not illegally     possess    a controlled        substance.

  For offellses committed Oil or (ifier September / J. /994:
        The defendant shall refrain from any unlawful use of a controlled substance.    The defendant                           shall submit to one drug test within
   15 days of release from imprisonment   and at least two periodic drug tests thereafter.

  o The above drug testing condition is suspended, based on the court's determination                                 that the defendant       poses a low risk of
       future substance     abuse.

       The defendant      shall not possess     a firearm.       destructive    device, or any other dangerous           weapon.

             Drug testing requirements will not exceed submission of more than eight drug tests per month during the term of supervision,
            unless ordered by the Court.
            IfThe
                thisdefendant
                     judgment shall cooperate
                                imposes        as adirected
                                        a fine or    restitutionin the collection it shall
                                                                    obligation,      of a DNA    sample, pursuant
                                                                                           be a condItion           to 18 release
                                                                                                          of supervised   USC 3583(d)
                                                                                                                                  that the defendant pay
       any such fine 01' restitutton that remains unpaid at the commencement                of the term of supervised release in accordance      with the
       Schedule of Payments set forth in this judgment.


       The defendant shall comply with the standard                  conditions        that have been adopted      by this court.       The defendant       shall also comply
  with any special conditions imposed.


                                         STANDARD CONDITIONS OF SUPERVISION

  I)   the defendant   shall not leave the judicial          district    without   the permission     of the court or probation          officer;
  2)   the defendant shall report to the probation            officer and shall submit a truthful            and complete     written report within the first five days
       of each month;

  3)   the defendant   shall answer      truthfully    all inquiries      by the probation      officer and follow the instructions           of the probation           officer;
  4)   the defendant   shall support     his or her dependents            and meet other family responsibilities;
  5)   the defendant shall work regularly           at a lawful occupation,        unless excused         by the probation    officer for schooling,        training,      or other
       acceptable reasons:
  6)   the defendant   shall notify the probation         officer at least ten days prior to any change                in residence      or employment;
  7)   the defendant shall refrain from excessive             use of alcohol and shall not purchase, possess, use, distribute, or administer                             any
       controlled substance or any paraphernalia              related to any controlled substances, except as prescribed by a physician;
  8)   the defendant   shall not frequent      places where controlled             substances    are illegally     sold, used, distributed,         or administered;
 9)
       the adefendant
       of              shall granted
             felony, unless  not associate  with any
                                      permission      persons
                                                  to do  so by engaged   in criminal
                                                               the probation   officer; activity                 and shall not associate      with any person convicted

10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere                                 and shall permit confiscation
       of any contraband observed In plain view of the probation officer;
II)    the defendant   shall notify the probation         officer       within seventy-two       hours of being arrested       or questioned          by a law enforcement
       officer;

12)    the defendant shall not enter into any agreement                 to act as an informer     or a special agent of a law enforcement                agency        without the
       permission of the court;
13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
       criminal record or personal history or characteristics    and shall permit the probation officer to make such notifications and to
       confirm the defendant's   compliance  with such notification requirement.
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                                               SPECIAL CONDITIONS OF SUPERVISION

          The defendant shall not possess firearms, explosive devices, or other dangerous weapons.
          The defendant shall submit to search of person, property, residence, abode or vehicle, at a reasonable time and in
          a reasonable manner, by the probation officer or other law enforcement officer.

          The defendant shall report all vehicles owned, operated, or in which the defendant has an interest to the probation officer.

 x        The defendant shall participate in a program of drug or alcohol abuse treatment, including urinalysis testing and counseling,
          as directed by the probation officer. The defendant may be required to contribute to the costs of services rendered in an
          amount to be determined by the probation officer, based on the defendant's ability to pay. Dmg testing requirements will not
          exceed submission of more than eight drug tests per month during the term of supervision, unless by order of the Court.
          The defendant shall be prohibited from opening checking accounts or incurring new credit charges or opening additional lines
          of credit without approval of the probation officer.

          The defendant shall provide complete disclosure of personal and business financial records to the probation officer as
          requested.
